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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                11/13/23


WAYNE BALIGA,
                                                18 Civ. 11642 (VM)
                       Plaintiff,
                                                ORDER
                - against -

LINK MOTION INC., et al.,

                       Defendants.


VICTOR MARRERO, United States District Judge.

     The Receiver and the Defendants are hereby ordered to

respond within three days, by letter not to exceed two pages,

to Plaintiff’s request for an order referring the parties to

mediation (see Dkt. No. 498).

SO ORDERED.

Dated:     13 November 2023
           New York, New York




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